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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

ENRIQUE RODRIGUEZ

                        Plaintiff,                    20      CV             5005 (JGK)

                                                      ORDER
                                                  l   - -   ~ • --       .   _.._ _ _ _ _          •     -          ~   ,. .   •
            - against -
                                                  p~J~T)S Su1'J':
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HKS CONSTRUCTION CORP . , ET AL.,                 l] l)'JCd!/f~= ;:
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                                                                                                  . 'f       ., ,       I ' (- '   :..'

                        Defendants .                  '•v·,c ;·..                                                                         I


JOHN G. KOELTL, District Judge :
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     The plaintiff sh o uld file an Order to Sho w Cause f o r a

Defa u lt Judgme n t by November 24, 2020.

     SO ORDERED.

Dated:      New York, New York
            November 9, 2020

                                          United States District Judge
